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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION


  UNITED STATES OF AMERICA                       CRIMINAL ACTION NO. 08-269

  VERSUS                                         JUDGE S. MAURICE HICKS, JR.

  TANDY W. MCELWEE, JR., ET AL.                  MAGISTRATE JUDGE HORNSBY


                                MEMORANDUM RULING

        Before the Court are Defendant Tandy W. McElwee, Jr.’s Motion for New Trial

  [Record Document 261] and Motion for Post Judgment Verdict of Acquittal [Record

  Document 262], and Defendant Ava Cates McElwee’s Motion for Judgment of Acquittal,

  or Alternatively, Motion for New Trial [Record Document 253]. The United States opposes

  these motions. [Record Document 265]. For the reasons stated herein, defendants’

  motions are DENIED.

                                     BACKGROUND

        After an eight-day jury trial, Defendant Tandy W. McElwee, Jr. (“Dr. McElwee”), a

  medical doctor specializing in Obstetrics and Gynecology, was convicted of the following

  counts:

        Count 1:      Conspiracy to obtain a controlled substance (hydrocodone) by
                      fraud, in violation of 21 U.S.C. § 846.

        Counts 9, 15, 20, 22-25, 27, 28, 40-42, 54, 58, 59-63: Obtaining or acquiring
                      a controlled substance (hydrocodone) by fraud, in violation of
                      21 U.S.C. § 843(a)(3) and 18 U.S.C. § 2.

        Count 73:     Conspiracy to possess with intent to distribute a controlled
                      substance (hydrocodone), in violation of 21 U.S.C. § 846.

        Counts 74-82: Possession with intent to distribute a controlled substance
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                        (hydrocodone), in violation of 21 U.S.C. § 841(a)(1) and 18
                        U.S.C. § 2.

         Count 83:     Providing false and fraudulent material information in a record
                       of dispensed controlled substances, in violation of 21 U.S.C.
                       § 843(a)(4)(A).

         Count 87:     Health care fraud, in violation of 18 U.S.C. § 1347 and § 2.

  [Record Documents 1, 246].

         Ava Cates McElwee (“Ms. McElwee”), a registered nurse practitioner and wife of Dr.

  McElwee, was convicted on the followings counts:

         Count 1:      Conspiracy to obtain a controlled substance (hydrocodone) by
                       fraud, in violation of 21 U.S.C. § 846.

         Counts 54:    Obtaining or acquiring a controlled substance (hydrocodone)
                       by fraud, in violation of 21 U.S.C. § 843(a)(3) and 18 U.S.C. §
                       2.

  Id.

         Both defendants now move, pursuant to Federal Rule of Criminal Procedure 29, for

  a judgment of acquittal on the basis that the evidence was insufficient to support their

  convictions. Dr. McElwee also moves, pursuant to Federal Rule of Criminal Procedure 33,

  for a new trial in the interest of justice. In support of his motion, Dr. McElwee argues that

  the Court erred by giving a supplemental “missing witness” instruction to the jury after the

  Court instructed the jury and counsel had given their closing arguments.             [Record

  Document 261].

          STANDARD OF REVIEW FOR RULE 29 JUDGMENT OF ACQUITTAL

         In considering a motion for judgment of acquittal filed pursuant to Rule 29, this Court

  must review the sufficiency of the evidence supporting the jury’s verdict. United States v.

  Dean, 59 F.3d 1479 (5th Cir. 1995). In so doing, the Court “consider[s] the evidence in the

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  light most favorable to the government,” United States v. DeJean, 613 F.2d 1356, 1358

  (5th Cir. 1980) (citations omitted), and, mindful that the jury is “free to choose among all

  reasonable constructions of the evidence,” Dean, 59 F.3d at 1484 (citation and internal

  quotations omitted), makes “all reasonable inferences and credibility choices [. . .] in

  support of the jury verdict,” DeJean, 613 F.3d at 1358 (citation omitted). See also, United

  States v. Robertson, 110 F.3d 1113, 1117 (5th Cir. 1997) (“Indeed, the court must view the

  evidence in the light most favorable to the verdict. In effect, the court assumes the truth

  of the evidence offered by the prosecution.”). The Court reviews the sufficiency of

  circumstantial evidence in the same manner that it reviews the sufficiency of direct

  evidence. DeJean, 613 F.2d at 1359 (citations omitted).

         The Court “must affirm the jury’s verdict if it was supported by substantial evidence

  [such] that a reasonable trier of fact could have found guilt beyond a reasonable doubt.”

  United States v. Wheeler, 802 F.2d 778, 782 (5th Cir. 1986) (citations omitted). It is not

  necessary that the evidence exclude every “reasonable hypothesis” of innocence. Dean,

  59 F.3d at 1484 (citation omitted). The Court is to determine “only whether the jury made

  a rational decision, not whether its verdict was correct on the issue of guilt or innocence.”

  Id. (citation omitted). In summary, the “ultimate question is whether, considering all

  evidence, the jury must necessarily have entertained a reasonable doubt.” DeJean, 613

  F.2d at 1359.

          STANDARD OF REVIEW FOR NEW TRIAL PURSUANT TO RULE 33

         Federal Rule of Criminal Procedure 33 permits the Court, upon motion, to “vacate

  any judgment and grant a new trial if the interest of justice so requires.” Fed. R. Cr. P.

  33(a). The burden of demonstrating that a new trial is warranted in the “interest of justice”

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  rests on the defendant. United States v. Soto-Silva, 129 F.3d 340, 343 (5th Cir. 1997).

  Because Rule 33 motions “are not favored and are viewed with great caution,” United

  States v. Blackthorne, 378 F.3d 449, 442 (5th Cir. 2004) (citation omitted), the remedy of

  a new trial is “rarely” granted and “is warranted only where there would be a miscarriage

  of justice or where the evidence preponderates heavily against the verdict.” United States

  v. O’Keefe, 128 F.3d 885, 898 (5th Cir. 1997) (citation omitted) (internal quotations

  omitted).

         In assessing a motion for new trial based on the weight of the evidence, the Court,

  in contrast to the approach established for evaluating motions for judgment of acquittal,

  need not view the evidence in the light most favorable to the Government, and can make

  its own credibility determinations.   Robertson, 110 F.3d at 1117. Notwithstanding, the

  Court “may not reweigh the evidence and set aside the verdict simply because it feels

  some other result would be more reasonable.” Id. at 1118 (citation omitted). In order for

  a new trial to be warranted, “[t]he evidence must preponderate heavily against the verdict

  such that it would be a miscarriage of justice to let the verdict stand.” Id.

         Also in assessing a motion for new trial, the Court has discretion to examine errors

  which may have been committed during the course of the trial. United States v. Simms,

  508 F. Supp. 1188, 1203 (W.D. La. 1980). The defendant bears the burden of showing

  that (1) some error was in fact committed and (2) that such error was prejudicial to him.

  Id. Even if an error is found to exist, the Court will disregard such error unless “the court

  can conclude with a fair assurance, after carefully examining all the facts of the case, that

  the verdict was substantially swayed by the error.” Id. (citing Kotteakos v. United States,

  328 U.S. 750, 66 S.Ct. 1239, 90 L.Ed.2d 1557 (1946)).

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                                         DISCUSSION

  I.     “Missing Witness Instruction”

         As requested by counsel for the government and for the defendants, the Court

  instructed the jury on the applicable law before closing arguments. Subsequently, through

  counsel, Dr. McElwee argued that he did not knowingly participate in the conspiracies that

  were allegedly being operated by Wendy Chriss1 to supply her and her cohorts with

  hydrocodone. Defense counsel focused upon the so-called “empty chair” or “black hole”

  created by the government’s failure to call Chriss as a witness during the trial, and posited

  the question: “Where is Wendy Chriss?”, insinuating that the government’s failure to call

  Chriss as a witness was unfavorable to the government’s case, and that this fact alone

  constituted sufficient, reasonable doubt to acquit.

         After defense counsel’s closing argument, the government requested the following

  supplemental instruction be read to the jury:

                As a general rule, where a witness is available to both the
                prosecution and the defense, no inference should be drawn
                against the party failing to call such witness. However, the
                government in every criminal case has the ultimate burden of
                proof. A defendant is not obligated to call any witness. He can
                rely on his presumption of innocence should he choose to do
                so.

  (Hereinafter referred to as the “missing witness” instruction.)2


         1
          Wendy Chriss was a co-defendant who pled guilty prior to trial. She was not
  called as a witness by either the government or the defense, although she was
  mentioned several times throughout the trial through documentary evidence and
  witness testimony.
         2
          Although the “missing witness” instruction is not a Fifth Circuit Pattern Jury
  Instruction, the Fifth Circuit approved the use of this instruction in United States v.
  Vincent, 648 F.2d 1046, 1051 (5th Cir. 1981).

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         The defense objected to the “missing witness” instruction on the following grounds:

  (1) because the jury had already been instructed, they might give undue weight to an

  additional instruction, and (2) the witness was unavailable to the defense because she was

  under the government’s control. The Court overruled the defendant’s objections and

  instructed the jury accordingly.3

         It is well-established in the Fifth Circuit that “any inference from a party’s failure to

  call a certain witness equally available to both parties is impermissible.” United States v.

  Chapman, 435 F.2d 1245, 1247 (5th Cir. 1970) (citing McClanahan v. United States, 230

  F.2d 919, 925 (5th Cir. 1956), cert. denied, 352 U.S. 824, 77 S.Ct. 33, 1 L.Ed.2d 47

  (1956)). Here, Wendy Chriss was equally available (or equally unavailable) to both parties.

  Although Chriss entered into a pretrial plea agreement with the Government, the

  agreement did not require Chriss’s cooperation during trial nor did the agreement prevent

  her from testifying on behalf of the defendants. Both parties had equal opportunity to

  subpoena her. However, had the Government subpoenaed Chriss and compelled her to

  testify, she may have merely invoked her Fifth Amendment privilege and protected her own

  interests, thereby weakening the strength of the Government’s case. Likewise, had Dr.

  McElwee subpoenaed Chriss, she would have had to invoke her Fifth Amendment privilege

  or admit guilt to lend credence to his defense. See Chapman, 435 F.2d at 1247-48.




         3
           Neither the Court nor the Government was informed that Wendy Chriss’s failure
  to testify was an issue to be addressed during closing arguments. Had defense
  counsel so informed the Court, the “missing witness” instruction would have been
  included in the original set of jury instructions and read to the jury before the arguments
  of both sides were made.

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         The Court finds that neither party was entitled to an adverse inference regarding the

  failure of Wendy Chriss to testify. Defense counsel’s effort to create such an inference by

  arguing that the failure to call Wendy Chriss as a witness “sap[ped] the Government of its

  strength” was impermissible. Consequently, the supplemental “missing witness” instruction

  was warranted and appropriately informed the jury that no inference was to be made.

  Furthermore, even if the Court erred by giving the “missing witness” instruction to the jury,

  such error was in no way prejudicial to Dr. McElwee. To the contrary, the instruction

  emphasized that the Government bears the ultimate burden of proof in a criminal case, that

  a defendant is not required to call witnesses, and that a defendant is entitled to rely on his

  presumption of innocence. Such an instruction would not have “substantially swayed” the

  verdict. See e.g., United States v. Vincent, 648 F.2d 1046, 1051 (5th Cir. 1981) (after

  defense counsel argued that an inference of reasonable doubt could be drawn from the

  government’s failure to call a witness, the trial court appropriately informed that the

  government had the ultimate burden of proof and that the defendant was not obliged to call

  any witness, as he could rely on his presumption of innocence should he choose to do so).

  Accordingly, Dr. McElwee’s Motion for New Trial [Record Document 261] is DENIED.

  II.    Insufficiency of the Evidence

         A.     Tandy W. McElwee, Jr.

         Dr. McElwee concedes, as he did at trial, to his guilt of Counts 54 and 58 through

  63. [Record Document 262, n.1]. He contends, however, that there was insufficient

  evidence from which a reasonable jury could find him guilty beyond a reasonable doubt as

  to Counts 1, 9, 15, 20, 22-25, 27, 28, 40-42, 73-83, and 87 of the Indictment.



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                1.      Conspiracy to Obtain a Controlled Substance by Fraud

         Count 1 charges Dr. McElwee with conspiracy to obtain a controlled substance

  (hydrocodone) by fraud in violation of 21 U.S.C. § 846. The jury was instructed that to find

  Dr. McElwee guilty of this offense, the government must have proved beyond a reasonable

  doubt: (1) that two or more persons, directly or indirectly, reached an agreement to

  conspire to obtain and acquire a mixture and substance containing hydrocodone by

  misrepresentation, fraud, forgery, deception, or subterfuge; (2) that the defendant knew of

  the unlawful purpose of the agreement; and (3) that the defendant joined in the agreement

  willfully, that is, with the intent to further its unlawful purpose. [Jury Instruction No. 21].

         A “conspiracy” is an agreement between two or more persons to join together to

  accomplish some unlawful purpose. It is a kind of “partnership in crime” in which each

  member becomes the agent of every other member. The Government is not required to

  present direct evidence of a conspiracy; rather, each element of the conspiracy may be

  proved by circumstantial evidence. United States v. Camilla, 20 F.3d 600, 603 (5th Cir.

  1994), cert. denied, 513 U.S. 892, 115 S.Ct. 240, 130 L.Ed.2d 163. Nor does the

  Government have to present evidence of an express or formal agreement; a tacit

  understanding is sufficient. United States v. Hopkins, 916 F.2d 207, 212 (5th Cir. 1990).

         Dr. McElwee argues that “there was no evidence from which the jury could infer that

  Dr. McElwee conspired with another person to obtain CDS by fraud” because Dr. McElwee

  testified that he believed there was a legitimate medical need for each prescription alleged

  in the contested counts. [Record Document 262-1, p.2]. The jury did not find his argument

  convincing at trial, nor does the Court find it convincing now. There was an abundance of

  evidence at trial regarding Dr. McElwee’s involvement in the conspiracy with his seven co-

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  defendants4—e.g., there was documentary evidence and testimony that he granted access

  to a computer system for his employees to have unlimited authority to submit prescriptions

  to Safescript/QVL Pharmacy, that he provided his staff with pre-signed prescription pads,

  that he altered medical charts and that he back-dated notations of “authorized”

  prescriptions. Furthermore, the Government’s expert, Dr. Michael Fleming, testified that

  hydrocodone should only be prescribed after a physical exam and diagnosis of a legitimate

  medical need, and that follow-up exams and testing are necessary when hydrocodone is

  prescribed long-term (none of which were performed by Dr. McElwee).

         Dr. McElwee also argues that there was no evidence that he received a monetary

  gain from the conspiracy. But as the Government properly argued at trial and in response

  to defendant’s motion, financial gain is not an element of the offense and is therefore

  irrelevant. Drug offenses are often committed by addicts who desire only to satisfy their

  personal habits and have no intention of making a financial gain.

         Accordingly, after a careful and thorough review of the record, the Court finds that

  there was substantial evidence from which a rational jury could find Dr. McElwee’s

  testimony to lack credibility and conclude beyond a reasonable doubt that Dr. McElwee

  conspired to obtain a controlled substance (hydrocodone) by fraud.

                2.     Conspiracy to Possess and Possession with Intent to Distribute
                       a Controlled Substance (Hydrocodone)

         Count 73 charges Dr. McElwee with conspiracy to possess with intent to distribute

  a controlled substance (hydrocodone) in violation of 21 U.S.C. § 846. At trial, the jury was


         4
         The Indictment charged Dr. McElwee with conspiring with: Ava Cates McElwee,
  Wendy Benson Chriss, Susan Hotard, Sandra Brannon, Catherine Cockrell, Kristina
  Randall, and Carla Huff.

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 instructed that to find Dr. McElwee guilty of this offense, the Government must have proved

 beyond a reasonable doubt: (1) that two or more persons, directly or indirectly, reached an

 agreement to conspire to possess with intent to distribute a mixture and substance

 containing hydrocodone; (2) that the defendant knew of the unlawful purpose of the

 agreement; and (3) that the defendant joined in the agreement willfully, that is, with the

 intent to further its unlawful purpose. [Jury Instruction No. 21]. In addition, because of his

 position as a physician at the time of the charged conduct, the jury was instructed that they

 must also find beyond a reasonable doubt that Dr. McElwee conspired to distribute

 hydrocodone without a legitimate medical reason or beyond the usual course of

 professional practice. [Jury Instruction No. 24].

        Counts 74-82 charge Dr. McElwee with possession with intent to distribute a

 controlled substance (hydrocodone) in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. §

 2. To find Dr. McElwee guilty on these counts, the jury was required to find beyond a

 reasonable doubt: (1) that the defendant distributed or dispensed a mixture and substance

 containing hydrocodone; (2) that he acted knowingly and intentionally; and (3) that he did

 so either without a legitimate medical purpose or outside the usual course of professional

 practice. [Jury Instruction No. 24].

        Dr. McElwee argues that there was an insufficient factual basis from which a

 reasonable jury could convict him of counts 73-82 because there was no evidence of joint

 participation, financial gain, or of an attempt to secrete the bottles of pills. Again, his

 argument is unconvincing. In addition to the evidence described above, the Government

 presented evidence that Dr. McElwee gave Wendy Chriss unlimited authorization to order

 controlled prescription drugs on the internet from Moore Medical Supply, a pharmaceutical

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 supply company located in Connecticut. [Govt. Ex. 73-001]. Over the next fifteen (15)

 months, the evidence showed that Chriss ordered nineteen (19) bottles containing 500 pills

 or tablets of hydrocodone each, for a total of 9,500 pills. [Govt. Ex. 73-003]. Dr. McElwee

 admitted at trial that he obtained these pills for the convenience of himself, his employees

 and their families. There was also ample testimony at trial from former “patients” who

 testified that they were able to obtain prescriptions for hydrocodone from Dr. McElwee’s

 office, despite the fact that Dr. McElwee never performed a medical exam on these

 individuals.

        Dr. McElwee was well-aware that members of his staff were taking hydrocodone

 without a documented medical need. Yet, he gave his staff unlimited prescribing authority

 and had no system in place for controlling or monitoring the prescriptions for hydrocodone.

 Moreover, the evidence showed that after Dr. McElwee received subpoenas from the

 Louisiana State Board of Medical Examiners, he assisted his staff in altering and falsifying

 medical charts and discussed creating a “dispensation record book” with Chriss.

        Accordingly, after a careful and thorough review of the record, the Court finds there

 was substantial evidence from which a rational jury could conclude beyond a reasonable

 doubt that Dr. McElwee conspired and enabled widespread possession and distribution of

 hydrocodone to persons and that such possession and distribution was done without a

 legitimate medical need and outside the usual course of professional practice.

                3.    Providing False and Fraudulent Information in a Record

        Count 83 charges Dr. McElwee with providing false and fraudulent material

 information in a record required by law to be kept, in violation of 21 U.S.C. § 843(a)(4)(A).

 The Court instructed the jury that, to find Dr. McElwee guilty of this offense, they must find

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 beyond a reasonable doubt: (1) that the defendant knowingly and intentionally furnished

 false or fraudulent information; (2) that the information was material; and (3) that the

 defendant knew that accurate records are required by law to be kept. [Jury Instruction No.

 25].

        Dr. McElwee argues that the Government failed to prove that he had an obligation

 under federal law to keep a log of any disbursements of CDS from his office. [Record

 Document 262-1, p.3]. This was a point of argument during the charge conference, and

 the Court determined that, pursuant to 21 C.F.R. § 1304.03, the defendant was required

 to keep a record of controlled substances “which [were] dispensed, other than by

 prescribing or administering in the lawful course of professional practice.” The jury was so

 instructed, and rightfully so. See Jury Instruction No. 25.

        The evidence at trial pertaining to the so-called record book and its falsity was

 overwhelming. In fact, Dr. McElwee admitted to knowing the record book was created only

 after he was contacted by the medical board. He also knew that the record book did not

 accurately record the hydrocodone being “dispensed” or simply given to himself, his staff,

 their families, and his patients. Accordingly, the Court finds there was substantial evidence

 from which a reasonable trier of fact could conclude beyond a reasonable doubt that Dr.

 McElwee provided false and fraudulent material information in a record required to be kept

 by law.

        4.     Health Care Fraud

        Count 87 charges Dr. McElwee with health care fraud in violation of 18 U.S.C. §

 1347 and § 2. To find Dr. McElwee guilty of this offense, the jury was instructed that they

 must find beyond a reasonable doubt: (1) that the defendant knowingly and willfully

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 executed or attempted to execute a scheme or artifice to defraud a health care benefit

 program as described in the indictment; (2) that as a part of the scheme the defendant

 obtained money or property or attempted to obtain money or property under the custody

 or control of a health care benefit program by means of false pretenses, representations

 or promises; (3) that the defendant acted with a specific intent to commit fraud; and (4) that

 the scheme was perpetrated against a health care benefit program in connection with the

 delivery of or payment for health care benefits or services. [Jury Instruction No. 26]. The

 jury was further instructed that: “A defendant acts with the requisite intent to defraud if the

 defendant acted knowingly and with the specific intent to deceive, ordinarily for the purpose

 of causing some financial loss to the health care benefit plan or to bring about some

 financial gain to the defendant.” Id.

        Dr. McElwee claims “[t]here is absolute no iota of evidence that [he] participated in

 the charged health care fraud.” [Record Document 262-1, p.3]. This argument must fail,

 as Dr. McElwee admitted at trial that he obtained hydrocodone in his wife’s name for his

 own use, and that these claims were submitted to and paid by his health insurance

 company, Blue Cross Blue Shield of Louisiana (“BCBS”). BCBS would not have paid the

 costs of these prescriptions had it known these claims were fraudulent; in other words, Dr.

 McElwee’s actions caused a financial loss to BCBS. Accordingly, the Court finds there was

 substantial evidence from which a reasonable trier of fact could conclude beyond a

 reasonable doubt that Dr. McElwee committed health care fraud.

        B.     Ava Cates McElwee

        Ms. McElwee combines her Rule 29 and Rule 33 arguments, therefore the Court will

 address her claims by count. Like her husband, Dr. McElwee, she contends there was no

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 direct evidence of her guilt, and that there was insufficient circumstantial evidence from

 which a reasonable jury could conclude that she was guilty beyond a reasonable doubt as

 to Counts 1 and 54 of the Indictment. Ms. McElwee did not testify at trial.

                1.      Conspiracy to Obtain a Controlled Substance by Fraud

        Count 1 charges Ms. McElwee with conspiracy to obtain a controlled substance

 (hydrocodone) by fraud in violation of 21 U.S.C. § 846. The jury was instructed that to find

 Ms. McElwee guilty of this offense, the government must have proved beyond a

 reasonable doubt: (1) that two or more persons, directly or indirectly, reached an

 agreement to conspire to obtain and acquire a mixture and substance containing

 hydrocodone by misrepresentation, fraud, forgery, deception, or subterfuge; (2) that the

 defendant knew of the unlawful purpose of the agreement; and (3) that the defendant

 joined in the agreement willfully, that is, with the intent to further its unlawful purpose. [Jury

 Instruction No. 21].

        As discussed above, a “conspiracy” is an agreement between two or more persons

 to join together to accomplish some unlawful purpose. The existence of an agreement

 may be proved by circumstantial evidence, and even minor participation in the conspiracy

 may serve as the basis for a conviction. United States v. Bieganowski, 313 F.3d 264, 277

 (5th Cir. 2002) (internal citations omitted). “Moreover, in a conspiracy case, an agreement

 may be inferred from concert of action, voluntary participation may be inferred from a

 collection of circumstances, and knowledge may be inferred from surrounding

 circumstances.” Id. (internal quotations and citations omitted).

        Here, Ms. McElwee argues there was no evidence from which a reasonable jury

 could infer that she knowingly and intentionally conspired with other persons to obtain

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 hydrocodone by fraud. [Record Document 253]. Ms. McElwee’s argument fails, however,

 as a careful and thorough review of the record indicates there was substantial evidence

 from which a jury could convict Ms. McElwee on Count 1. At least ten (10) signature logs

 were introduced at trial purporting to show that “A. McElwee” or “Ava McElwee” signed for

 various hydrocodone-containing substances (i.e., Lortab, Histussin HC, H-C Tussive); the

 driver’s license number by the prescriptions of Ava McElwee from the CVS Pharmacy in

 Bossier City, Louisiana was identified as belonging to Ava McElwee; Ms. McElwee’s

 medical chart included only two occasions on which Lortab (hydrocodone) was prescribed

 and only three occasions on which Histussin HC (hydrocodone) was prescribed; the

 prescriptions in Ms. McElwee’s medical chart matched the only prescriptions on the QVL

 patient profiles which were subpoenaed by the State Board of Medical Examiners; and

 there was testimony at trial that medical charts were altered using QVL patient profiles.

       Furthermore, the Government presented Conchita McElwee’s falsified medical chart

 which included a purported vaginal examination note and a notation indicating that the

 patient was prescribed Lortab for menstrual cramps. Both of these notes were in the

 handwriting of Ava McElwee. However, Conchita McElwee (the daughter-in-law of Dr. and

 Ms. McElwee) testified that she never had a vaginal examination by either Dr. or Ms.

 McElwee and that she had never been prescribed Lortab by either Dr. or Ms. McElwee for

 menstrual cramps. In fact, Conchita McElwee testified that she cannot take Lortab

 because she is allergic to hydrocodone. Another witness testified that the entire medical

 chart for Conchita McElwee was fabricated after receipt of the Louisiana State Medical

 Board subpoena. The Government also presented false examination notes listing the

 patient’s name as “Conchita ‘Brandi’ McElwee.” Conchita McElwee testified that she had

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 never gone by the name “Brandi.” See Gov’t Exs. 108-001 to 108-004. Testimony at trial

 revealed that “Brandi” is actually the McElwees’ dog.

        In addition, co-defendant Susan Hotard testified that, after the investigation by the

 Louisiana State Board of Medical Examiners had begun, Ms. McElwee told her: “Wendy

 is going to save our ass with that book” (referring to the false record book). Sandra

 Brannon, another co-defendant, testified that when the McElwees came to her home, Ms.

 McElwee informed her that “we all may be going to jail.” Brannon also testified that she

 discussed with Ms. McElwee the number of hydrocodone pills she was taking, and that Ms.

 McElwee merely told her to “slow down” on the amount of prescriptions being submitted

 to pharmacies.

        Accordingly, considering all of the evidence, the Court finds there was a substantial

 amount of evidence from which a reasonable trier of fact could conclude beyond a

 reasonable doubt that Ms. McElwee conspired to obtain a controlled substance

 (hydrocodone) by fraud and that the weight of the evidence strongly preponderates in favor

 of the verdict.

               2.     Obtaining a Controlled Substance by Fraud

        Count 54 charges Ms. McElwee with knowingly and intentionally obtaining and

 acquiring a controlled substance (hydrocodone) by fraud on January 6, 2006, in violation

 of 21 U.S.C. 843(a)(3) and 18 U.S.C. § 2. [Record Document 1]. At trial, the jury was

 instructed that to find Ms. McElwee guilty of this offense, the Government must have

 proved beyond a reasonable doubt: (1) that the defendant obtained or acquired a mixture

 and substance containing hydrocodone; (2) that the defendant utilized misrepresentation,

 fraud, forgery, deception, or subterfuge to obtain a mixture and substance containing

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 hydrocodone; and (3) that the misrepresentation, fraud, forgery, deception, or subterfuge

 was material. [Jury Instruction No. 23].

        The Government presented documentary evidence at trial showing numerous

 prescriptions were submitted to Fred’s Pharmacy on January 6, 2006, in the name of Ava

 McElwee, Susan Hotard, Conchita McElwee, and Kristina Randall. See Gov’t Exs. 45-001,

 45-003, 54-002, 68-001. The signature log from Fred’s Pharmacy also shows that the two

 prescriptions in Ms. McElwee’s name were signed by “A. McElwee.” Considering this

 evidence, together with all the other evidence discussed above and presented by the

 Government at trial, the Court finds there was a substantial amount of evidence from which

 a rational jury could conclude beyond a reasonable doubt that Ms. McElwee was guilty of

 Count 54. Furthermore, the weight of the evidence strongly preponderates in favor of the

 guilty verdict.

                                        CONCLUSION

        Based on the foregoing analysis, the Court finds that there was sufficient evidence

 to support the convictions of Defendants Tandy W. McElwee, Jr. and Ava Cates McElwee,

 that the Court did not err in giving the supplemental “missing witness” instruction to the jury,

 and that no miscarriage of justice occurred. Accordingly, Defendant Tandy W. McElwee,

 Jr.’s Motion for New Trial [Record Document 261], Defendant Tandy W. McElwee, Jr.’s

 Motion for Post Judgment Verdict of Acquittal [Record Document 262], and Defendant Ava

 Cates McElwee’s Motion for Judgment of Acquittal, or Alternatively, Motion for New Trial

 [Record Document 253] shall be DENIED.

        An order consistent with this Memorandum Ruling shall issue herewith.



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         THUS DONE AND SIGNED in Shreveport, Louisiana, on this 15th day of January,

 2010.




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